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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTI-DISTRICT LITIGATION

 IN RE: Roundup Products Liability
 Litigation                                                                       MDL No. 2741

                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Motion to Transfer,

Schedule of Actions, attachments, and this Proof of Service were served by Email or First Class

Mail on July 28, 2021 to the following:

Gilmore v. Monsanto Company, D. Delaware, Case No. 1:20-cv-01085-MN

VIA FIRST CLASS MAIL

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United States District Court
844 North King St Unit 18
Wilmington, DE 19801-3570

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